Case 0:23-cr-60007-AHS Document1i Entered on FLSD Docket 01/13/2023 Pags 4,07 RYAM Dc

Jan 12, 2023
UNITED STATES DISTRICT COURT ANGELAE NOBLE.
SOUTHERN DISTRICT OF FLORIDA S.D. OF FLA. - MIAMI

-23-60007-CR-SINGHAL/DAMIAN

18 U.S.C. § 1349
18 U.S.C. § 1343

18 U.S.C. § 2

18 U.S.C. § 981(a)(1)

UNITED STATES OF AMERICA
vs.

GAIL RUSS,
CHERYL STANLEY,
KRYSTAL LOPEZ,
RICKY RILEY,
NORBERTO LOPEZ,
DAMIAN LOPEZ,
FRANCOIS LEGAGNEUR, |
REYNOSO SEIDE,
-CASSANDRE JEAN,
YELVA SAINT PREUX,
EVANGELINE NAISSANT,
RONY MICHEL,
VILAIRE DUROSEAU, and
YVROSE THERMITUS,
a/k/a “Yvrose Thompson,”

Defendants.
/

INDICTMENT

The Grand Jury charges that:

GENERAL ALLEGATIONS

At all times relevant to this Indictment:

Requirements to Become a Registered Nurse or Licensed Practical Nurse

1. The purpose of a professional nursing license was to protect the public from harm

by setting minimum qualifications and competencies for safe entry-level practitioners. Nursing
Case 0:23-cr-60007-AHS Document1i Entered on FLSD Docket 01/13/2023 Page 2 of 33

was regulated because it is one of the health professions that poses a risk of harm to the public if
practiced by someone who is unprepared and/or incompetent. Boards of Nursing achieved this
mission by establishing the standards for safe nursing care and issuing licenses to practice nursing.

2. According to the National Council of State Boards of Nursing, components of
licensure to be a Registered Nurse (RN) or a Licensed Practical/V ocational Nurse (LPN/VN)
include verification of graduation from an approved pre-licensure nursing program, verification of.
successful completion of the National Council Licensure Examination (NCLEX) also known as
“the board exam” or “the boards,” and in some states a criminal background check.

3. The Nurse Licensure Compact increased access to care while maintaining public
protection at the state level. Under the Nurse Licensure Compact, nurses can practice in other
Nurse Licensure Compact states, without having to obtain additional licenses. Approximately 39
states, including Florida, have enacted Nurse Licensure Compact legislation. The Nurse Licensure
Compact required that every RN or LPN/VN graduate from a board-approved RN or LPN/VN
prelicensure education program. Each state’s nursing board governed the approval of nursing
education programs.

4. The State of Florida enacted the Nurse Practice Act to ensure that every nurse
practicing in Florida meets minimum requirements for safe practice. Fla. Stat. §§ 464.001-464.027.
The Florida Board of Nursing was both a regulatory board and a state government agency legally
responsible for enforcing the state’s Nurse Practice Act. The Florida Board of Nursing was
responsible for establishing standards for safe nursing care and issuing licenses to practice nursing.
To do so, it oversaw education requirements and rules for licensure in Florida. Among these
requirements was that any person desiring to be licensed as an RN or LPN/VN had to complete

the requirements for graduation from an approved program, or its equivalent as determined by the
Case 0:23-cr-60007-AHS Document1i Entered on FLSD Docket 01/13/2023 Page 3 of 33

board, for the preparation of registered nurses or licensed practical nurses, whichever was
applicable. For graduates of an approved program equivalent, an applicant seeking certification
to take the licensure examination has to submit an official transcript or equivalent documentation
which identified all courses completed that met graduation requirements.

5. According to Florida's Nurse Practice Act, an approved pre-licensure program's
curriculum must consist of:

a. At least fifty percent clinical training for a practical nursing education program, an
associate degree professional nursing program, or a professional diploma nursing education
program.

b. The professional or practical nursing curriculum plan must document clinical
experience and theoretical instruction in medical, surgical, ‘obstetric, pediatric, and geriatric
nursing. A professional nursing curriculum plan shall also document clinical experience and
theoretical instruction in psychiatric nursing. Each curriculum plan must document clinical
training experience in appropriate settings that include, but are not limited to, acute care, long-
term care, and community settings.

c, The professional or practical nursing education program provides theoretical
instruction and clinical application in personal, family, and community health concepts; nutrition;

~ human growth and development throughout the life span; body structure and function;
interpersonal relationship skills; mental health concepts; pharmacology and administration of
medications; and legal aspects of practice. A professional nursing education program must also
provide theoretical instruction and clinical application in interpersonal relationships and leadership

skills; professional role and function; and health teaching and counseling skills.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 4 of 33

Defendants and Related Individuals and Entities

6. Med-Life Institute WPB, LLC (Med-Life) was a Florida limited liability company
licensed by the Florida Board of Education to provide a nursing education program.

7. Palm Beach School of Nursing, LLC (Palm Beach School of Nursing) was a Florida
limited liability company located in Palm Beach County, Florida. Palm Beach School of Nursing
operated under the license that was issued to Med-Life and transferred to Palm Beach School of
Nursing. According to Palm Beach School of Nursing’s Program Outline, it offered an Associate
in Science degree, and the objective of the program was to “prepare the student to meet the
requirements of the Florida Department of Health and the Florida Board of Nursing for Registered
Nurse Education and meet eligibility for licensing exam (NCLEX-RN) in order to work as a
Registered Nurse in a variety of settings in a safe and effective manner.”

8. Quisqueya School of Nursing LLC, d/b/a Sunshine Academy (Sunshine Academy)
was a Florida limited liability company located in Palm Beach County, Florida. Sunshine
Academy was licensed by the Florida Board of Education to provide a nursing education program.
According to Sunshine Academy’s Program Outline, it offered a practical nursing program, and
the objective of the program was to “prepare student[s] to provide nursing care to clients in
hospitals, nursing homes, home healthcare agencies, and other areas in healthcare. Upon
satisfactory completion of the program the graduate is eligible to apply. to sit for the National
Council Licensure Examination for Practical Nursing.”

9. Quisqueya Health Care Academy, LLC (Quisqueya) was a Florida limited liability
company located in Palm Beach County, Florida. Quisqueya operated under the same license that
had been previously issued to Sunshine Academy. According to Quisqueya’s Program Outline, it

offered a practical nursing program, and the objective of the program was to “prepare student[s]
Case 0:23-cr-60007-AHS Document1i Entered on FLSD Docket 01/13/2023 Page 5 of 33

to provide nursing care to clients in hospitals, nursing homes, home healthcare agencies, and other
areas in healthcare. Upon satisfactory completion of the program the graduate is eligible to apply
to sit for the National Council Licensure Examination for Practical Nursing.”

10. Florida College of Health LLC (Florida College of Health) was a Florida limited
liability company licensed by the Florida Board of Education to provide a nursing education
program.

11. Nursing Education Agency, LLC (Nursing Education Agency) was a Florida
limited liability company located in Palm Beach County, Florida.

12. EDUconnect LLC (EDUconnect) was a Florida limited liability company located
in Palm Beach County, Florida.

13. Unparalleled Review Services, LLC (Unparalleled Review) was a New York
limited liability company located in J amaica, New York.

14. Unity Health Care Training & Employment LLC (Unity Health Care Training) was
a New Jersey limited liability company located in Maplewood, New Jersey.
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15, Success Review International Services, Inc (Success Review) was a New-Jersey
company located in Brooklyn, New York.

16. New Era Professional Prep Services LLC (New Era) was a New York limited
liability company located in Baldwin, New York.

17. | Jemeron Tutoring Healthcare Services LLC (Jemeron) was a New Jersey limited
liability company located in Colts Neck, New Jersey.

18. Center for Advanced Training & Studies Inc (Center for Advanced Training) was

a New Jersey company located in Orange, New Jersey.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 6 of 33

19. PowerfulU Healthcare Services LLC (PowerfulU) was a Florida limited liability
company located in Broward County, Florida.

20. Defendant GAIL RUSS, a resident of Broward County, Florida, was the Director
of Student Services and the Registrar of Palm Beach School of Nursing.

21. Defendant CHERYL STANLEY, a resident of Collier County, Florida, was a
partner in Palm Beach School of Nursing and Florida College of Health, and the Campus Director
of both schools.

22. Defendant KRYSTAL LOPEZ, a resident of Palm Beach County, Florida, was the
Director of Finance of Palm Beach School of Nursing.

23. Defendant RICKY RILEY, a resident of Broward County, Florida, was the
Director of Nursing for Quisqueya and Palm Beach School of Nursing.

24. Defendant NORBERTO LOPEZ, a resident of Palm Beach County, Florida,
owned and operated Nursing Education Agency.

25. Defendant DAMIAN LOPEZ, a resident of Palm Beach County, Florida, owned

and operated EDUconnect.

26. Defendant FRANCOIS LEGAGNEUR, a resident of Nassau County, New York,
owned and operated Unparalleled Review.

27. Defendant REYNOSO SEIDE was a resident of Union County, New Jersey.

28. Defendant CASSANDRE JEAN, a resident of Palm Beach County, Florida,

owned and operated Success Review.
29. Defendant YELVA SAINT PREUX, a resident of Suffolk County, New York,

owned and operated New Era.

Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 7 of 33

30. Defendant EVANGELINE NAISSANT, a resident of Nassau County, New York,

operated New Era.

3]. Defendant RONY MICHEL, a resident of Monmouth County, New Jersey, owned

and operated Jemeron.

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32. _ Defendant VILAIRE DUROSEAU, a resident of Essex County, New Jersey,
owned and operated Center for Advanced Training.

33. YVROSE THERMITUS, a/k/a “Yvrose Thompson,” a resident of Union
County, New Jersey, owned and operated Unity Health Care Training.

34. Johanah Napoleon, a resident of Palm Beach County, Florida, owned Med-Life,

Palm Beach School of Nursing, Sunshine Academy, Quisqueya, and Florida College of Health.

35, Geralda Adrien, a resident of Broward County, Florida, was the owner and Manager
of PowerfulU.
36. | Co-conspirator 1 obtained a diploma and transcript issued by Palm Beach School

of Nursing purporting to show that he/she attended Palm Beach School of Nursing and completed
the necessary courses and/or clinicals to obtain an Associate Degree in Nursing diploma.

37. Co-conspirator 2 obtained a diploma and transcript issued by Quisqueya purporting
to show that he/she attended Quisqueya and completed the necessary courses and/or clinicals to
obtain an LPN diploma.

38. Co-conspirator 3 obtained a diploma and transcript issued by Palm Beach School
of Nursing purporting to show that he/she attended Palm Beach School of Nursing and completed

the necessary courses and/or clinicals to obtain an Associate Degree in Nursing diploma.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 8 of 33

39.  Co-conspirator 4 obtained a diploma and transcript issued by Palm Beach School
of Nursing purporting to show that he/she attended Palm Beach School of Nursing and completed
the necessary courses and/or clinicals to obtain an Associate Degree in Nursing diploma.

40.  Co-conspirator 5 obtained a diploma and transcript issued by Palm Beach School
of Nursing purporting to show that he/she attended Palm Beach School of Nursing and completed
the necessary courses and/or clinicals to obtain an Associate Degree in Nursing diploma.

41.  Co-conspirator 6 obtained a diploma and transcript issued by Palm Beach School
of Nursing purporting to show that he/she attended Palm Beach School of Nursing and completed
the necessary courses and/or clinicals to obtain an Associate Degree in Nursing diploma.

42. | Co-conspirator 7 obtained a diploma and transcript issued by Palm Beach School
of Nursing purporting to show that he/she attended Palm Beach School of Nursing and completed
the necessary courses and/or clinicals to obtain an Associate Degree in Nursing diploma.

43. Health Care Provider-1 (HCP-1) was a Skilled Nursing Facility located in Ohio that
employed licensed nurses to care for patients, including Medicare and Medicaid patients.

44, Health Care Provider-2 (HCP-2) was a rehabilitation facility located in New York
that employed licensed nurses to care for homebound pediatric patients, including Medicare
patients.

45. Health Care Provider-3 (HCP-3) was an Assisted Living Facility located in New
Jersey that employed licensed nurses to care for elderly patients, including Medicare and Medicaid
patients.

46. Health Care Provider-4 (HCP-4) was a Veterans Affairs (VA) Medical Center
located in New York that employed licensed nurses to care for patients eligible for VA Health

Care.
Case 0:23-cr-60007-AHS Document1i Entered on FLSD Docket 01/13/2023 Page 9 of 33

47. Health Care Provider-5 (HCP-5) was a home health facility located in
Massachusetts that employed licensed nurses to care for homebound pediatric patients, including
Medicare and Medicaid patients.

48. Health Care Provider-6 (HCP-6) was a skilled nursing care facility located in New
Jersey that employed licensed nurses to care for elderly patients, including Medicare patients.
49. Health Care Provider-7 (HCP-7) was a skilled nursing care facility located in New

York that employed licensed nurses to care for elderly patients, including Medicare and Medicaid

patients.
COUNT 1
Conspiracy to Commit Wire Fraud
(18 U.S.C. § 1349)
1. The General Allegations section of this Indictment is re-alleged and incorporated
by reference as if fully set forth herein.

2. From at least as early as in or around April of 2016, and continuing through in or
around July of 2021, in Broward and Palm Beach Counties, in the Southern District of Florida,
and elsewhere, the defendants,

GAIL RUSS,
CHERYL STANLEY,
KRYSTAL LOPEZ,
RICKY RILEY,
NORBERTO LOPEZ,
DAMIAN LOPEZ,
~ FRANCOIS LEGAGNEUR,
REYNOSO SEIDE,
CASSANDRE JEAN,
YELVA SAINT PREUX,
EVANGELINE NAISSANT,
RONY MICHEL,
VILAIRE DUROSEAU, and
2 YVROSE THERMITUS,
a/k/a “Yvrose Thompson,”
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 10 of 33

did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,
conspire, confederate, and agree with each other, and with J ohanah Napoleon, Geralda Adrien, co-
conspirators 1-7, and others known and unknown to the Grand Jury, to commit wire fraud, that is,
to knowingly and with the intent to defraud, devise and intend to devise a scheme and artifice to
defraud and for obtaining money and property by means of materially false and fraudulent
pretenses, representations, and promises, knowing the pretenses, representations, and promises
were false and fraudulent when made, and for the purpose of executing the scheme and artifice,

' did knowingly transmit and cause to be transmitted by means of wire communication in interstate
and foreign commerce, certain writings, signs, signals, pictures and sounds, in violation of Title
18, United States Code, Section 1343.

Purpose of the Conspiracy

3. It was the purpose of the conspiracy for the defendants and their co-conspirators
to unlawfully enrich themselves by, among other things: (a) soliciting and recruiting co-
conspirators, via interstate wire communications, seeking nursing credentials to obtain
employment as an RN or LPN/VN in the health care field; (b) creating and distributing, via
interstate wire communications, false and fraudulent diplomas and transcripts for co-conspirators
seeking RN or LPN/VN licensure and employment in the health care field; (c) using the false and
fraudulent documents to obtain employment, pay, and other benefits in the health care field; (d)
concealing the use of fraudulent documents used to obtain employment in the health care field;
and (e) using proceeds of the conspiracy for their personal use and benefit, and the use and benefit
of others, and to further the conspiracy.

Manner and Means of the Conspiracy

The manner and means by which the defendants and their co-conspirators sought to

10
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 11 of 33

accomplish the object and purpose of the conspiracy included, among others, the following:

4. DAMIAN LOPEZ, NORBERTO LOPEZ, FRANCOIS LEGAGNEUR,
REYNOSO SEIDE, CASSANDRE JEAN, YELVA SAINT PREUX, EVANGELINE
NAISSANT, RONY MICHEL, VILAIRE DUROSEAU, YVROSE THERMITUS, a/k/a
“Yvrose Thompson,” and others, via interstate wire communications, solicited and recruited co-
conspirators, -including co-conspirators 1-7, and others, seeking nursing credentials and
employment as an-RN or LPN/VN in the health care field.

5. GAIL RUSS, CHERYL STANLEY, NORBERTO LOPEZ, KRYSTAL
LOPEZ, RICKY RILEY, DAMIAN LOPEZ, FRANCOIS LEGAGNEUR, REYNOSO
SEIDE, CASSANDRE JEAN, YELVA SAINT PREUX, EVANGELINE NAISSANT,
RONY MICHEL, VILAIRE ‘DUROSEAU, YVROSE THERMITUS, a/k/a “Yvrose
Thompson,” J ohanah Napoleon, Geralda Adrien, and others sent and caused others to send, via

‘interstate wire communications, information used to create false and fraudulent official transcripts
and diplomas from Palm Beach School of Nursing, Quisqueya, and Florida College of Health.

6. GAIL RUSS, CHERYL STANLEY, NORBERTO LOPEZ, KRYSTAL
LOPEZ, RICKY RILEY, DAMIAN LOPEZ, FRANCOIS LEGAGNEUR, REYNOSO
SEIDE, CASSANDRE JEAN, YELVA SAINT PREUX, EVANGELINE NAISSANT,
RONY MICHEL, VILAIRE DUROSEAU, YVROSE THERMITUS, alk/a “Yvrose
Thompson,” Johanah Napoleon, Geralda Adrien, and others, created and distributed, and caused
to be created and distributed, via interstate wire communications, false and fraudulent transcripts
and diplomas to co-conspirators, including co-conspirators 1-7, and others falsely and fraudulently
representing that the co-conspirators attended Palm Beach School of Nursing, Quisqueya, or

Florida College of Health in Florida and completed the necessary courses and/or clinicals to obtain

11
‘Case 0:23-cr-60007-AHS Document 1 Entered on FLSD Docket 01/13/2023 Page 12 of 33

RN or LPN/VN diplomas, when in fact the co-conspirators had never actually completed the
necessary courses and/or clinicals.

7. In furtherance of the conspiracy, co-conspirators including co-conspirators 1-7 and
others, used the false and fraudulent diplomas and transcripts and other records created and
distributed, and caused to be created and distributed, by GAIL RUSS, CHERYL STANLEY,
NORBERTO LOPEZ, KRYSTAL LOPEZ, RICKY RILEY, DAMIAN LOPEZ,
FRANCOIS LEGAGNEUR, REYNOSO SEIDE, CASSANDRE JEAN, YELVA SAINT

» PREUX, EVANGELINE NAISSANT, RONY MICHEL, VILAIRE DUROSEAU, YVROSE
THERMITUS, a/k/a “Yvrose Thompson,” Johana Napoleon, Geralda Adrien, and others, to
obtain licensure as an RN or LPN/VN in various states including Ohio, New York, New Jersey,
and Massachusetts.

8. Co-conspirators, including co-conspirators 1-7, and others, used the false and
fraudulent diplomas, transcripts and other documents created and distributed, and caused to be
created and distributed, by GAIL RUSS, CHERYL STANLEY, NORBERTO LOPEZ,
KRYSTAL LOPEZ, RICKY RILEY, DAMIAN LOPEZ, FRANCOIS LEGAGNEUR,
REYNOSO SEIDE, CASSANDRE JEAN, YELVA SAINT PREUX, EVANGELINE
NAISSANT, RONY MICHEL, VILATRE DUROSEAU, YVROSE THERMITUS, a/k/a
“Yvrose Thompson,” Johanah Napoleon, Geralda Adrien, and others, to fraudulently obtain
employment and benefits as an RN or LPN/VN at various unwitting health care providers
throughout the country, including at HCP-1-7. Those health care providers hired and paid salaries,
wages, and other benefits to the RNs and LPN/VNs based on their fraudulent credentials.

9. GAIL RUSS, CHERYL STANLEY, NORBERTO LOPEZ, KRYSTAL

LOPEZ, RICKY RILEY, DAMIAN LOPEZ, FRANCOIS LEGAGNEUR, REYNOSO

12
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 13 of 33

' SEIDE, CASSANDRE JEAN, YELVA SAINT PREUX, EVANGELINE NAISSANT,
RONY MICHEL, VILAIRE DUROSEAU, YVROSE THERMITUS, a/k/a “Yvrose
Thompson,” Johana Napoleon, and Geralda Adrien, together with co-conspirators 1-7 and others,
used the proceeds of the conspiracy for their personal use and benefit, and to further the conspiracy.

All in violation of Title 18, United States Code, Section 1349.

COUNTS 2-25
Wire Fraud
(18 U.S.C. § 1343)
1. . The General Allegations section of this Indictment is realleged and incorporated
by reference as if fully set forth herein.
2. From at least as early as in or around April of 2016, and continuing through in or

around July of 2021, in Broward and Palm Beach Counties, in the Southern District of Florida,
and elsewhere, the defendants,

GAIL RUSS,
CHERYL STANLEY,
KRYSTAL LOPEZ,
RICKY RILEY,
NORBERTO LOPEZ,
DAMIAN LOPEZ,
FRANCOIS LEGAGNEUR,
REYNOSO SEIDE,
CASSANDRE JEAN,
| YELVA SAINT PREUX,
EVANGELINE NAISSANT,
RONY MICHEL,
VILAIRE DUROSEAU, and
YVROSE THERMITUS,
a/k/a “Yvrose Thompson,” .

did knowingly, and with the intent to defraud, devise and intend to devise a scheme and artifice to
defraud and for obtaining money and property by means of materially false and fraudulent

pretenses, representations, and promises, knowing the pretenses, representations, and promises

13
_ Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 14 of 33

“were false and fraudulent when made, and for the purpose of executing the scheme and artifice,
did knowingly transmit and cause to be transmitted by means of wire communication in interstate
and foreign commerce, certain writings, signs, signals, pictures and sounds, in violation of Title
18, United States Code, Section 1343.

Purpose of the Scheme and Artifice

3. It was a purpose of the scheme and attifice for the defendants and their
accomplices to unlawfully enrich themselves by, among other things: (a) soliciting and recruiting
accomplices, via interstate wire communications, seeking nursing credentials to obtain
employment as an RN or LPN/VN in the health care field; (b) creating and distributing, via
interstate wire communications, false and fraudulent diplomas and transcripts for accomplices
seeking RN and LPN/VN licensure and employment in the health care field, (c) using the false
and fraudulent documents to obtain employment, pay, and other benefits in the health care field;
(d) concealing the use of fraudulent documents used to obtain employment in the health care field;
and (e) using the proceeds of the fraud for their personal use and benefit, and the use and benefit
of others, and to further the fraud.

The Scheme and Artifice

4. Paragraphs 4 through 9 of the Manner and Means section of Count 1 of this
Indictment are re-alleged and incorporated by reference as though fully set forth herein as a
description of the scheme and artifice.

Use of the Wires

5. On or about the dates set forth below, in the Southern District of Florida, and
elsewhere, the defendants, as specified below, for the purposes of executing the above-described

scheme and artifice to defraud, did knowingly transmit and cause to be transmitted by means of

14
Case 0:23-cr-60007-AHS Document 1 ,Entered on FLSD Docket 01/13/2023 Page 15 of 33

wire communication in interstate and foreign commerce, certain writings, signs, signals, pictures

and sounds as described below:

Count Defendant(s) Approx Description of Wire Transmission
ate
2 Text message via interstate wire from DAMIAN
LOPEZ to Johanah Napoleon in the Southern
DAMIAN LOPEZ 1/26/2018 District of Florida with an attachment containing
nursing accomplice payment information.
3 GAIL RUSS, Email via interstate wire from EVANGELINE
YELVA SAINT NAISSANT to GAIL RUSS in the Southern
PREUX and 3/6/2018 | District of Florida providing the address of New Era
EVANGELINE Professional Prep and the name of its director
NAISSANT YELVA SAINT PREUX
4 GAIL RUSS, Deposit via interstate wire of check number 1352 in
CHERYL the amount of $1,360 drawn on the Palm Beach
STANLEY, and 5/10/2018 | School of Nursing LLC account as payment to
FRANCOIS FRANCOIS LEGAGNEUR directed by
LEGAGNEUR_ CHERYL STANLEY
5 GAIL RUSS, Deposit via interstate wire of check number 1373 in
CHERYL the amount of $1,360 drawn on the Palm Beach
STANLEY, and 5/22/2018 | School of Nursing LLC account as payment to
FRANCOIS FRANCOIS LEGAGNEUR | directed by
LEGAGNEUR CHERYL STANLEY
6 Email via interstate wire from CHERYL
GAIL RUSS and STANLEY to J ohanah Napoleon in the Southern
CHERYL 6/21/2018 District of Florida forwarding a message from the
STANLEY New York State Education Department stating that
Florida College of Health “has no legal authority”
to offer a Nursing program in New York State
7 Email via interstate wire from Johanah Napoleon in
NORBERTO 8/8/2018 the Southern District of Florida to NORBERTO
LOPEZ LOPEZ containing -blank templates for Palm
Beach School of Nursing diplomas and transcripts
8 Email via interstate wire from REYNOSO SEIDE
se vamyNOsa | 12/03/2018 | KRYSTAL LOPEZ in the Southern District of
SFIDE Florida containing information for nursing
accomplices recruited in New Jersey
9 Text message via interstate wire from RONY
MICHEL to Johanah Napoleon in the Southern
RONY MICHEL 4/14/2019 District of Florida in which they discuss fees for
his students

15

Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 16 of 33

Count Defendant(s) Approx. Description of Wire Transmission
Date
10 Johanah Napoleon in the Southern District of
VILAIRE Florida forwarded an email via interstate wire
DUROSEAU and | 7192019 ae eee eee eee eee ee
RICKY RILEY containing information a out nursing accomplices
traveling to Florida to complete registrations and
background checks
1] RICKY RILEY via interstate wire forwarded an
email to Johanah Napoleon in the Southern District
of Florida from the Florida Board of Nursing in
RICKY RILEY 10/31/2019 | which RICKY RILEY acknowledged that Palm
Beach School of Nursing was terminated by the
Florida Board of Nursing in 2017 and was in Teach
Out status
12 Email via interstate wire from RICKY RILEY in
GAIL RUSS, RICKY the Southern District of Florida to CASSANDRE
RILEY and 3/9/2020 | JEAN, GAIL RUSS, and Johanah Napoleon
CASSANDRE JEAN discussing clinical rotations for accomplice nursing
applicants
13 Email via interstate wire from GAIL RUSS in the
Southern District of Florida to. nursing applicant
GAIL RUSS 4/13/2020 R.C. in which RUSS states she will speak to R.C.’s
recruiter to get the dates for R.C.’s transcript
14 Email via interstate wire from VILAIRE
GAIL RUSS and Oe ° oe RUSS in the Souter
VILAIRE 5/11/2020 istrict of Florida listing names and grades o
DUROSEAU accomplice nursing applicants seeking to obtain
Palm Beach School of Nursing diplomas and
transcripts
15 Email via interstate wire from FRANCOIS
GAIL RUSS and LEGAGNEUR to GAIL RUSS in the Southern
_ FRANCOIS 7/17/2020 | District of Florida containing a transcript picture
LEGAGNEUR and requesting that GAIL RUSS modify a
graduation date for an accomplice nursing applicant
16 Email via interstate wire from FRANCOIS
GAIL RUSS and LEGAGNEUR to GAIL RUSS in the Southern
FRANCOIS 7/17/2020 | District of Florida requesting that RUSS modify
LEGAGNEUR dates on nursing accomplice diplomas and
transcripts
17 Email via interstate wire from CASSANDRE
JEAN to GAIL RUSS in the Southern District of
CaseanoRe ae 9/21/2020 | Florida requesting that RUSS produce official
transcripts and diplomas for the nursing applicants
whose information is contained in the attachments

16

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ase 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 17 of 33

Count Defendant(s) Approx. Description of Wire Transmission
Date
18 Email via interstate wire from RONY MICHEL to
GAIL RUSS in the Southern District of Florida
GAIL RUSS and 1/3/2021 requesting that RUSS prepare transcripts for his
RONY MICHEL students and send their information to the New:
York Board of Nursing and the New Jersey Board
of Nursing
19 Email via interstate wire from RICKY RILEY in
the Southern District of Florida to the New York
GAIL RUSS and 5/11/2021 | State Education Department, Office of Professional
RICKY RILEY . . : .
Licensing, requesting that New York allow nursing
applicants to obtain licensure
20 Email via interstate wire from CASSANDRE
GAIL RUSS and) 5/18/2021 reduce offical transcripts eed “diplomas for the
CASSANDRE JEAN . . : .
accomplice nursing applicants whose information
is contained in the attachments
21 Email via interstate wire from YVROSE
GAIL RUSS and THERMITUS to GAIL RUSS requesting that
YVROSE 6/1/2021 . . . . .
THERMITUS RUSS edit a nursing accomplice transcript prior to
sending it to Florida Board of Nursing
22 Email via interstate wire from RONY MICHEL to
GAIL RUSS and 6/2/2021 GAIL RUSS requesting that RUSS send transcripts
RONY MICHEL on behalf of his students to the Florida Board of
Nursing
23 Proponent Federal Credit Union wire payment via
VILAIRE interstate wire in the amount of $30,000 from
DUROSFAU 6/2/2021 | VILATRE DUROSEAU to Johanah Napoleon for
Palm Beach School of Nursing diplomas and
transcripts
24 YVROSE THERMITUS via interstate wire
GAIL RUSS and forwarded an email to GAIL RUSS from a nursing
YVROSE 6/17/2021 | accomplice requesting that RUSS send information
THERMITUS to the Florida Board of Nursing on behalf of the
accomplice
25 Email via interstate wire from CASSANDRE
JEAN to GAIL RUSS requesting that RUSS
CaueaNOIS aN 6/ 18/2021 | produce official transcripts and diplomas for

nursing applicants whose information is contained
in the attachments

In violation of Title 18, United States Code, Sections 1343 and 2.

17

Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 18 of 33

FORFEITURE
(18 U.S.C. § 981(a)(1))

1. The allegations contained in this Indictment are hereby re-alleged and by this
reference fully incorporated herein for the purpose of alleging forfeiture to the United States of
certain property in which any of the defendants, GAIL RUSS, CHERYL STANLEY,
KRYSTAL LOPEZ, RICKY RILEY, NORBERTO LOPEZ, DAMIAN LOPEZ,
FRANCOIS LEGAGNEUR, REYNOSO SEIDE, CASSANDRE JEAN, YELVA SAINT
PREUX, EVANGELINE NAISSANT, RONY MICHEL, VILAIRE DUROSEAU, and
YVROSE THERMITUS, a/k/a “Yvrose Thompson,” have an interest.

2. Upon conviction of a violation, or conspiracy to commit a violation, of Title 18,

United States Code, Section 1343, as alleged in this Indictment, the defendant so convicted shall

/

forfeit to the United States any property, real or personal, which constitutes or is derived from

proceeds traceable to such offense, pursuant to Title 18, United States Code, Section 981(a)(1)(C).
All pursuant to Title 18, United States Code, Section 981(a)(1)(C) and the procedures set

forth at Title 21, United States Code, Section 853, as made applicable by Title 28, United States

Code, Section 2461(c).

RKENZY/LAPOINTE |
ITED STATES ATTORNEY

N\A eens

CHRISTOPHER J. CLARK
ASSISTANT UNITED STATES ATTORNEY

18
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 19 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.:

v.
GAIL RUSS, et al. CERTIFICATE OF TRIAL ATTORNEY*
/ Superseding Case Information:
Defendants.

Court Division (select one) _ New Defendant(s) (Yes or No)

Miami [| Key West FTP Number of New Defendants

FTL WPB Total number of New Counts
I “ > hereby certify that:

I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.

I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

Interpreter: (Yes or No) No
List language and/or dialect:

This case will take_14 days for the parties to try.

Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
I Oto 5 days F] Petty

II 6 to 10 days Minor

TT Ld11 to 20 days Misdemeanor
IV E121 to 60 days Felony

Vv 61 days and over

Has this case been previously filed in this District Court? (Yes or No) No _
If yes, Judge Case No.
Has a complaint been filed in this matter? (Yes or No) No
If yes, Magistrate Case No.
Does this case relate to a previously filed matter in this District Court? (Yes or No) No.
If yes, Judge Case No.

Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of

Is this a potential death penalty case? (Yes or No) No _

Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No _

Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No _

By {072
Fo2Christopher J. Clark
Assistant United States Attorney

FLA Bar No. 588040

Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 20 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _GAIL RUSS

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years
* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts # 3-6, 12-22, 24, and 25:

Wire Fraud

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Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 21 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA ©

PENALTY SHEET

Defendant's Name: CHERYL STANLEY

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts # 4-6:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 22 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: KRYSTAL LOPEZ

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years __

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count # 8:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if. applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 23 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: RICKY RILEY

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts #10-12, and 19:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 24 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _NORBERTO LOPEZ

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of lmprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count # 7:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 25 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _ DAMIAN LOPEZ

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count # 2:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 26 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _FRANCOIS LEGAGNEUR

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts # 4, 5, 15, and 16:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 27 of 33

‘UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _REYNOSO SEIDE

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count # 8:

Wire Fraud

. Title 18, United States Code, Section 1343
* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release: 3 Years
* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 28 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _CASSANDRE JEAN

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts # 12, 17, 20 and 25:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
- * Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 29 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: —_YELVA SAINT PREUX

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count # 3:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 30 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _EVANGELINE NAISSANT

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count # 3:

Wire Fraud

Title 18, United States Code, Section 1343
* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release: 3 Years
* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.

Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 31 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _RONY MICHEL

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts # 9, 18, and 22:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of hmprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 32 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _ VILAIRE DUROSEAU

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts # 10, 14 and 23:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 0:23-cr-60007-AHS Document1 Entered on FLSD Docket 01/13/2023 Page 33 of 33

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _YVROSE THERMITUS, a/k/a “Yvrose Thompson”

Case No:

Count #1:

Conspiracy to Commit Wire Fraud

Title 18, United States Code, Section 1349

* Max. Term of Imprisonment: Twenty (20) Years

* Mandatory Min. Term of Imprisonment (if applicable): -

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Counts #21 and 24:

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: Twenty (20) Years as to each count
* Mandatory Min. Term of Imprisonment (if applicable):

* Max. Supervised Release: 3 Years

* Max. Fine: $250,000 or twice the gross or loss for the offense

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
